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                                   1                                      UNITED STATES DISTRICT COURT
                                   2                                   NORTHERN DISTRICT OF CALIFORNIA
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                                   6      IN RE: LITHIUM ION BATTERIES                     Case No.: 13-MD-2420 YGR
                                          ANTITRUST LITIGATION
                                   7                                                       ORDER SETTING BRIEFING SCHEDULE RE
                                                                                           CLASS CERTIFICATION AND DAUBERT
                                   8                                                       MOTIONS
                                          This Order Relates to:
                                   9
                                          All Direct and Indirect Purchaser
                                          Actions
                                  10

                                  11
Northern District of California




                                  12          In light of the October 30, 2014 Case Management Conference, the schedules proposed by
 United States District Court




                                  13   the parties (Dkt. No. 518 at 7-10), discovery deadlines since implemented by Magistrate Judge
                                  14   Ryu, and good cause appearing, the Court hereby SETS the following schedule:
                                  15

                                  16      Event                                             Deadline
                                  17      Plaintiffs’ class certification motions           November 30, 2015
                                  18      Defendants’ oppositions to class certification    March 9, 2016
                                  19
                                          and Daubert motions
                                  20
                                          Plaintiffs’ replies on class certification        June 7, 2016
                                  21
                                          and oppositions to Daubert motions
                                  22
                                          Defendants’ replies to Daubert oppositions        July 22, 2016
                                  23

                                  24          The Court declines to set a trial date at this juncture.
                                  25          The Court SETS a scheduling conference for March 25, 2016 at 9:30 a.m. to set additional
                                  26   dates for a hearing on the motions which will be filed by that date, and any other related
                                  27   proceedings. If warranted, the Court will consider whether to set additional deadlines at that time.
                                  28          ///
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                                   1          In light of this Order and the progress of the litigation thus far, the parties shall meet and
                                   2   confer regarding any other interim deadlines required and shall submit a joint proposed order. If
                                   3   unable to reach agreement, the parties may file a joint statement presenting alternative proposals.
                                   4

                                   5          IT IS SO ORDERED.
                                   6   Dated: January 8, 2015                             _______________________________________
                                                                                                 YVONNE GONZALEZ ROGERS
                                   7
                                                                                            UNITED STATES DISTRICT COURT JUDGE
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Northern District of California
 United States District Court




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